                                  Case 24-10363-LSS                  Doc 1       Filed 03/08/24            Page 1 of 50


Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF DELAWARE

Case number (if known)                                                      Chapter      7
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                          06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Sunrise City Dixie, LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                    Mailing address, if different from principal place of
                                                                                                 business

                                                                                                 102 Larch Circle
                                  3267 Vineland Rd.                                              Suite 301
                                  Kissimmee, FL 32837                                            Newport, DE 19804
                                  Number, Street, City, State & ZIP Code                         P.O. Box, Number, Street, City, State & ZIP Code

                                  Orange                                                         Location of principal assets, if different from principal
                                  County                                                         place of business

                                                                                                 Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                             page 1
                                   Case 24-10363-LSS                    Doc 1         Filed 03/08/24              Page 2 of 50
Debtor    Sunrise City Dixie, LLC                                                                      Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                           Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                           Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                           Railroad (as defined in 11 U.S.C. § 101(44))
                                           Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                           Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                           Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                           None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                           Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                           Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                         http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                               7225

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                           Chapter 7
     debtor filing?
                                           Chapter 9
     A debtor who is a “small
     business debtor” must check           Chapter 11. Check all that apply:
     the first sub-box. A debtor as                              The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     defined in § 1182(1) who                                    noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     elects to proceed under                                     $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     subchapter V of chapter 11                                  operations, cash-flow statement, and federal income tax return or if any of these documents do not
     (whether or not the debtor is a                             exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     “small business debtor”) must
     check the second sub-box.                                   The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
                                                                 debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                 proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                 balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                           Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against            Yes.
     the debtor within the last 8
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                                  Case number
                                                 District                                 When                                  Case number

10. Are any bankruptcy cases              No
    pending or being filed by a           Yes.
    business partner or an
    affiliate of the debtor?




Official Form 201                            Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                 page 2
                                       Case 24-10363-LSS                       Doc 1       Filed 03/08/24              Page 3 of 50
Debtor    Sunrise City Dixie, LLC                                                                         Case number (if known)
          Name

     List all cases. If more than 1,                                                                                                                      Holding
     attach a separate list                          Debtor      Sunrise Food LLC                                              Relationship               Company

                                                     District    Delaware                     When      03/08/24               Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                                Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                                preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                                A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or                 No
    have possession of any
    real property or personal              Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property that needs
    immediate attention?                            Why does the property need immediate attention? (Check all that apply.)
                                                       It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard?
                                                       It needs to be physically secured or protected from the weather.
                                                        It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                      livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                       Other
                                                    Where is the property?           3267 Vineland Rd., Kissimmee, FL 32837
                                                                                     Number, Street, City, State & ZIP Code
                                                    Is the property insured?
                                                       No
                                                       Yes. Insurance agency         IOA Insurance Services
                                                                Contact name         Marie Ladely
                                                                Phone                302-764-1000



          Statistical and administrative information

13. Debtor's estimation of             .         Check one:
    available funds
                                                    Funds will be available for distribution to unsecured creditors.
                                                    After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of                    1-49                                              1,000-5,000                                25,001-50,000
    creditors                              50-99                                             5001-10,000                                50,001-100,000
                                           100-199                                           10,001-25,000                              More than100,000
                                           200-999

15. Estimated Assets                       $0 - $50,000                                      $1,000,001 - $10 million                   $500,000,001 - $1 billion
                                           $50,001 - $100,000                                $10,000,001 - $50 million                  $1,000,000,001 - $10 billion
                                           $100,001 - $500,000                               $50,000,001 - $100 million                 $10,000,000,001 - $50 billion
                                           $500,001 - $1 million                             $100,000,001 - $500 million                More than $50 billion

16. Estimated liabilities                  $0 - $50,000                                      $1,000,001 - $10 million                   $500,000,001 - $1 billion
                                           $50,001 - $100,000                                $10,000,001 - $50 million                  $1,000,000,001 - $10 billion
                                           $100,001 - $500,000                               $50,000,001 - $100 million                 $10,000,000,001 - $50 billion
                                           $500,001 - $1 million                             $100,000,001 - $500 million                More than $50 billion




Official Form 201                                  Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
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 Fill in this information to identify the case:

 Debtor name            Sunrise City Dixie, LLC

 United States Bankruptcy Court for the:                       DISTRICT OF DELAWARE

 Case number (if known)
                                                                                                                                                                                    Check if this is an
                                                                                                                                                                                        amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                    12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                   $       1,852,374.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                      $         871,515.02

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                     $       2,723,889.02


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                   $       1,592,465.98


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                      $               3,268.41

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                              +$       2,428,931.65


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                            $          4,024,666.04




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                  page 1
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Fill in this information to identify the case:

Debtor name          Sunrise City Dixie, LLC

United States Bankruptcy Court for the:      DISTRICT OF DELAWARE

Case number (if known)
                                                                                                                                 Check if this is an
                                                                                                                                       amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                       12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

      No. Go to Part 2.
      Yes Fill in the information below.
     All cash or cash equivalents owned or controlled by the debtor                                                                    Current value of
                                                                                                                                       debtor's interest

3.         Checking, savings, money market, or financial brokerage accounts (Identify all)
           Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                            number


           3.1.     Truist Bank                                       Checking                              9530                                   $6,173.24



4.         Other cash equivalents (Identify all)

5.         Total of Part 1.                                                                                                                     $6,173.24
           Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

Part 2:           Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

      No. Go to Part 3.
      Yes Fill in the information below.

Part 3:           Accounts receivable
10. Does the debtor have any accounts receivable?

      No. Go to Part 4.
      Yes Fill in the information below.
11.        Accounts receivable
           11a. 90 days old or less:                       285.67      -                                     0.00 = ....                                $285.67
                                        face amount                          doubtful or uncollectible accounts



Official Form 206A/B                                  Schedule A/B Assets - Real and Personal Property                                                     page 1
                               Case 24-10363-LSS                  Doc 1        Filed 03/08/24       Page 9 of 50

Debtor       Sunrise City Dixie, LLC                                                    Case number (If known)
             Name



12.       Total of Part 3.                                                                                                       $285.67
          Current value on lines 11a + 11b = line 12. Copy the total to line 82.

Part 4:      Investments
13. Does the debtor own any investments?

    No. Go to Part 5.
    Yes Fill in the information below.

Part 5:      Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

    No. Go to Part 6.
    Yes Fill in the information below.
          General description                Date of the last           Net book value of      Valuation method used   Current value of
                                             physical inventory         debtor's interest      for current value       debtor's interest
                                                                        (Where available)

19.       Raw materials
          Food and paper
          products - no detailed
          inventory completed                Decemebr 2023                         $4,066.00   Recent cost                        Unknown



20.       Work in progress

21.       Finished goods, including goods held for resale

22.       Other inventory or supplies

23.       Total of Part 5.                                                                                                          $0.00
          Add lines 19 through 22. Copy the total to line 84.

24.       Is any of the property listed in Part 5 perishable?
           No
           Yes
25.       Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
           No
           Yes. Book value                        0.00 Valuation method                            Current Value               0.00

26.       Has any of the property listed in Part 5 been appraised by a professional within the last year?
           No
           Yes
Part 6:      Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

    No. Go to Part 7.
    Yes Fill in the information below.

Part 7:      Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

    No. Go to Part 8.
    Yes Fill in the information below.

Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                                   page 2
                              Case 24-10363-LSS                   Doc 1        Filed 03/08/24          Page 10 of 50

Debtor       Sunrise City Dixie, LLC                                                        Case number (If known)
             Name

          General description                                            Net book value of          Valuation method used   Current value of
                                                                         debtor's interest          for current value       debtor's interest
                                                                         (Where available)

39.       Office furniture
          Small desk                                                                      $0.00                                        Unknown


          Laptop                                                                          $0.00                                        Unknown



40.       Office fixtures

41.       Office equipment, including all computer equipment and
          communication systems equipment and software

42.       Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
          books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
          collections; other collections, memorabilia, or collectibles

43.       Total of Part 7.                                                                                                                 $0.00
          Add lines 39 through 42. Copy the total to line 86.

44.       Is a depreciation schedule available for any of the property listed in Part 7?
           No
           Yes
45.       Has any of the property listed in Part 7 been appraised by a professional within the last year?
           No
           Yes
Part 8:      Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

    No. Go to Part 9.
    Yes Fill in the information below.
          General description                                            Net book value of          Valuation method used   Current value of
          Include year, make, model, and identification numbers          debtor's interest          for current value       debtor's interest
          (i.e., VIN, HIN, or N-number)                                  (Where available)

47.       Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles


48.       Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
          floating homes, personal watercraft, and fishing vessels

49.       Aircraft and accessories


50.       Other machinery, fixtures, and equipment (excluding farm
          machinery and equipment)
          Goji Systems, Inc.- Kiosk System - Ordering                                $6,398.00      Recent cost                        $6,398.00


          Gill Group/TriMark- Softserve machine                                   $168,757.33       Recent cost                      $168,757.33


          Gill Group/TriMark- Walk-in freezers; Shelving;
          Mix bar; Exhaust hoods; Undercounter
          refrigerator                                                            $164,679.09       Recent cost                      $164,679.09




Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                                        page 3
                          Case 24-10363-LSS                Doc 1   Filed 03/08/24      Page 11 of 50

Debtor      Sunrise City Dixie, LLC                                         Case number (If known)
            Name

         Gill Group/TriMark- Rough in drawings                         $1,750.00    Recent cost         $1,750.00


         HP Sales- Gas Pressure Fryer                                $31,079.00     Recent cost        $31,079.00


         HP Sales- Gas Pressure Fryer                                $31,079.00     Recent cost        $31,079.00


         Qual Serv- Fry Warming Station                              $10,146.90     Recent cost        $10,146.90


         GMR Food Service - Dinning Furniture                        $45,000.00     Recent cost        $45,000.00


         GMR Food Service -Dinning Furniture                         $55,000.00     Recent cost        $55,000.00


         GMR Food Service- Dinning Furniture                         $10,264.74     Recent cost        $10,264.74


         Infinity Signs & Graphics -Exterior & Interior
         Signs                                                       $27,174.00     Recent cost        $27,174.00


         Infinity Signs & Graphics - Exterior & Interior
         Signs                                                         $8,664.00    Recent cost         $8,664.00


         Fluid Audio Communications- Installing
         Audio/CCTV/DTS/Data                                         $78,717.50     Recent cost        $78,717.50


         Fluid Audio Communications- Drive thru
         equipment                                                   $45,000.00     Recent cost        $45,000.00


         Fluid Audio Communications- Drive thru
         equipment                                                   $49,000.00     Recent cost        $49,000.00


         Intelligent Point of Sale (IPOS)-
         Terminal/Software/Training                                  $17,949.00     Recent cost        $17,949.00


         Intelligent Point of Sale (IPOS)-
         Terminal/Software/Training                                  $16,254.50     Recent cost        $16,254.50


         Intelligent Point of Sale (IPOS)- Spare terminal              $1,581.95    Recent cost         $1,581.95


         Intelligent Point of Sale (IPOS)- Kitchen video
         micro PC                                                       $573.00     Recent cost          $573.00


         C&T Design Equipment- Fryer System                          $10,000.00     Recent cost        $10,000.00


         C&T Design Equipment- Fryer System                          $10,995.31     Recent cost        $10,995.31




Official Form 206A/B                         Schedule A/B Assets - Real and Personal Property              page 4
                              Case 24-10363-LSS                 Doc 1     Filed 03/08/24         Page 12 of 50

Debtor       Sunrise City Dixie, LLC                                                  Case number (If known)
             Name

          C&T Design Equipment- Gas connector/Safety
          equipment                                                               $795.80    Recent cost                              $795.80


          Gaines Global Services, LLC- Install Furniture                        $8,000.00    Recent cost                            $8,000.00


          Taylor Products- Grill                                              $21,286.00     Recent cost                          $21,286.00


          Amazon/Capital One- Reach in freezer                                  $2,632.68    Recent cost                            $2,632.68


          Gill Group/TriMark- Pd $5k - owe $21,413.72                         $26,413.72     Recent cost                          $26,413.72


          Amazon/Capital One- Hatco Fry holding
          station                                                               $4,192.39    Recent cost                            $4,192.39


          Schnitzel Master- Stainless Steel Pans                                $1,642.90    Recent cost                            $1,642.90


          Accent Lighting- Lighting Fixtures                                  $10,029.30                                          $10,029.30



51.       Total of Part 8.                                                                                                   $865,056.11
          Add lines 47 through 50. Copy the total to line 87.

52.       Is a depreciation schedule available for any of the property listed in Part 8?
           No
           Yes
53.       Has any of the property listed in Part 8 been appraised by a professional within the last year?
           No
           Yes
Part 9:      Real property
54. Does the debtor own or lease any real property?

    No. Go to Part 10.
    Yes Fill in the information below.
55.       Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

          Description and location of           Nature and           Net book value of       Valuation method used     Current value of
          property                              extent of            debtor's interest       for current value         debtor's interest
          Include street address or other       debtor's interest    (Where available)
          description such as Assessor          in property
          Parcel Number (APN), and type
          of property (for example,
          acreage, factory, warehouse,
          apartment or office building, if
          available.
          55.1.
                  3267 Vineland Rd.             Unexpired
                  Kissimmee, FL 32837           Lease                               $0.00                                          Unknown


          55.2.
                  3627 Vineland Road
                  Kissimmee, FL 32837           Building                   $1,852,374.00     Recent cost                       $1,852,374.00


Official Form 206A/B                               Schedule A/B Assets - Real and Personal Property                                        page 5
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Debtor        Sunrise City Dixie, LLC                                                      Case number (If known)
              Name




56.        Total of Part 9.                                                                                             $1,852,374.00
           Add the current value on lines 55.1 through 55.6 and entries from any additional sheets.
           Copy the total to line 88.

57.        Is a depreciation schedule available for any of the property listed in Part 9?
            No
            Yes
58.        Has any of the property listed in Part 9 been appraised by a professional within the last year?
            No
            Yes
Part 10:      Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

    No. Go to Part 11.
    Yes Fill in the information below.

Part 11:      All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

    No. Go to Part 12.
    Yes Fill in the information below.




Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                             page 6
                                      Case 24-10363-LSS                            Doc 1            Filed 03/08/24                  Page 14 of 50

Debtor          Sunrise City Dixie, LLC                                                                             Case number (If known)
                Name



Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                              Current value of                    Current value of real
                                                                                                    personal property                   property

80. Cash, cash equivalents, and financial assets.
    Copy line 5, Part 1                                                                                              $6,173.24

81. Deposits and prepayments. Copy line 9, Part 2.                                                                          $0.00

82. Accounts receivable. Copy line 12, Part 3.                                                                          $285.67

83. Investments. Copy line 17, Part 4.                                                                                      $0.00

84. Inventory. Copy line 23, Part 5.                                                                                        $0.00

85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

86. Office furniture, fixtures, and equipment; and collectibles.
    Copy line 43, Part 7.                                                                                                   $0.00

87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                    $865,056.11

88. Real property. Copy line 56, Part 9.........................................................................................>                      $1,852,374.00

89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

91. Total. Add lines 80 through 90 for each column                                                            $871,515.02           + 91b.            $1,852,374.00


92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $2,723,889.02




Official Form 206A/B                                              Schedule A/B Assets - Real and Personal Property                                                        page 7
                                      Case 24-10363-LSS                    Doc 1         Filed 03/08/24          Page 15 of 50

Fill in this information to identify the case:

Debtor name          Sunrise City Dixie, LLC

United States Bankruptcy Court for the:            DISTRICT OF DELAWARE

Case number (if known)
                                                                                                                                       Check if this is an
                                                                                                                                            amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                    12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
       No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
       Yes. Fill in all of the information below.
Part 1:      List Creditors Who Have Secured Claims
                                                                                                                  Column A                    Column B
2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
claim, list the creditor separately for each claim.                                                               Amount of claim             Value of collateral
                                                                                                                                              that supports this
                                                                                                                  Do not deduct the value     claim
                                                                                                                  of collateral.
       Revocable Trust of Leoard
2.1                                                                                                                    $1,500,000.00            $1,852,374.00
       F. Iacono, Sr.                               Describe debtor's property that is subject to a lien
       Creditor's Name                              3627 Vineland Road
                                                    Kissimmee, FL 32837
       102 Larch Circle, Suite 301
       Newport, DE 19804
       Creditor's mailing address                   Describe the lien
                                                    Leasehold Mortgage, Assignment of Leases
                                                    and Rents, Security Agreement & Fixture
                                                    Is the creditor an insider or related party?
                                                     No
       Creditor's email address, if known              Yes
                                                    Is anyone else liable on this claim?
       Date debt was incurred                        No
                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                As of the petition filing date, the claim is:
       interest in the same property?               Check all that apply
        No                                          Contingent
          Yes. Specify each creditor,               Unliquidated
       including this creditor and its relative      Disputed
       priority.
       1. Sunrise City Retail
       Partners, LLC
       2. Revocable Trust of
       Leoard F. Iacono, Sr.

       Sunrise City Retail
2.2                                                                                                                        $92,465.98           $1,852,374.00
       Partners, LLC                                Describe debtor's property that is subject to a lien
       Creditor's Name                              3627 Vineland Road
       5555 S. Kirkman Rd., Ste.                    Kissimmee, FL 32837
       201
       Kissimmee, FL 32819
       Creditor's mailing address                   Describe the lien
                                                    Landlord Lien
                                                    Is the creditor an insider or related party?
                                                     No
       Creditor's email address, if known            Yes
                                                    Is anyone else liable on this claim?
       Date debt was incurred                        No

Official Form 206D                                Schedule D: Creditors Who Have Claims Secured by Property                                                page 1 of 2
                                      Case 24-10363-LSS                   Doc 1         Filed 03/08/24           Page 16 of 50

Debtor       Sunrise City Dixie, LLC                                                               Case number (if known)
             Name

                                                    Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an               As of the petition filing date, the claim is:
       interest in the same property?              Check all that apply
        No                                         Contingent
        Yes. Specify each creditor,                Unliquidated
       including this creditor and its relative     Disputed
       priority.
       Specified on line 2.1

2.3    U.S. Foods, Inc.                            Describe debtor's property that is subject to a lien                           $0.00              Unknown
       Creditor's Name                             All personal property and proceeds thereof
       Parke E. Industrial Park
       Tampa, FL 33610
       Creditor's mailing address                  Describe the lien
                                                   UCC-1 Filing
                                                   Is the creditor an insider or related party?
                                                    No
       Creditor's email address, if known           Yes
                                                   Is anyone else liable on this claim?
       Date debt was incurred                       No
                                                    Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an               As of the petition filing date, the claim is:
       interest in the same property?              Check all that apply
        No                                         Contingent
        Yes. Specify each creditor,                Unliquidated
       including this creditor and its relative     Disputed
       priority.




                                                                                                                            $1,592,465.9
3.    Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.                       8

Part 2:     List Others to Be Notified for a Debt Already Listed in Part 1
List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
assignees of claims listed above, and attorneys for secured creditors.

If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
        Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                              you enter the related creditor?   account number for
                                                                                                                                                this entity




Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                       page 2 of 2
                                 Case 24-10363-LSS                       Doc 1           Filed 03/08/24                Page 17 of 50

Fill in this information to identify the case:

Debtor name        Sunrise City Dixie, LLC

United States Bankruptcy Court for the:         DISTRICT OF DELAWARE

Case number (if known)
                                                                                                                                                    Check if this is an
                                                                                                                                                       amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                       12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

Part 1:      List All Creditors with PRIORITY Unsecured Claims

      1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

          No. Go to Part 2.
          Yes. Go to line 2.
      2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
         with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                        Total claim            Priority amount

2.1       Priority creditor's name and mailing address         As of the petition filing date, the claim is:                                       $3,268.41     $3,268.41
          Florida Department of Revenue                        Check all that apply.
          5050 W. Tennessee St.                                 Contingent
          Tallahassee, FL 32399-0112                            Unliquidated
                                                                Disputed
          Date or dates debt was incurred                      Basis for the claim:
          February 2024                                        Sales Tax
          Last 4 digits of account number                      Is the claim subject to offset?
          Specify Code subsection of PRIORITY                   No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                Yes


Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
      3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
         out and attach the Additional Page of Part 2.
                                                                                                                                                     Amount of claim

3.1       Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $10,029.30
          Accent Lighting, Inc.                                               Contingent
          10322 E. Stonegate Lane                                             Unliquidated
          Ste. 100                                                            Disputed
          Wichita, KS 67206
                                                                             Basis for the claim: Vendor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?      No  Yes
3.2       Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                        $378.37
          ARAMARK                                                             Contingent
          2680 Palumbo Drive                                                  Unliquidated
          Lexington, KY 40509                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim: Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?      No  Yes



Official Form 206E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                             page 1 of 7
                                                                                                               51299
                              Case 24-10363-LSS                 Doc 1         Filed 03/08/24                 Page 18 of 50

Debtor      Sunrise City Dixie, LLC                                                         Case number (if known)
            Name

3.3      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $631.00
         BSN Sports, LLC                                            Contingent
         P.O. Box 841393                                            Unliquidated
         Dallas, TX 75284-1393                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Vendor
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.4      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $693.38
         Caspers Service Company                                    Contingent
         6845 Maple Lane                                            Unliquidated
         Tampa, FL 33610                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Vendor
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.5      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $234.17
         Charter Communications                                     Contingent
         4145 S. Falkenburg Road                                    Unliquidated
         Riverview, FL 33578-8652                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Cable
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.6      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $916.50
         Cohen, Seglias, Pallas                                     Contingent
         1600 Market Street                                         Unliquidated
         32nd Floor                                                 Disputed
         Philadelphia, PA 19103
                                                                   Basis for the claim: Legal
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.7      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $1,028.94
         Containter Rental Co., Inc.                                Contingent
         P.O. Box 547874                                            Unliquidated
         Orlando, FL 32854                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Vendor
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.8      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $1,995.15
         Dixie's Franchising, LLC                                   Contingent
         26 Easton Way                                              Unliquidated
         Hainesport, NJ 08036                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: January Franchise Fees
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.9      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $28,553.60
         Edward Don and Company                                     Contingent
         9801 Adam Don Parkway                                      Unliquidated
         Woodridge, IL 60517                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Vendor
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                      Page 2 of 7
                              Case 24-10363-LSS                 Doc 1         Filed 03/08/24                 Page 19 of 50

Debtor      Sunrise City Dixie, LLC                                                         Case number (if known)
            Name

3.10     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $1,097.58
         Fire Alarm & Sec Tech., Inc.                               Contingent
         Pacific Rim Fire Protection                                Unliquidated
         420 Manor Drive                                            Disputed
         Merritt Island, FL 32952
                                                                   Basis for the claim: Security
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.11     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $895.48
         Fluid Audio Communications Inc.                            Contingent
         2550 Blvd. of the Generals                                 Unliquidated
         Suite 320                                                  Disputed
         West Norriton, PA 19403
                                                                   Basis for the claim: Drive Thru System
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.12     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $52.00
         Gage                                                       Contingent
         11815 Sun Belt Ct                                          Unliquidated
         Baton Rouge, LA 70809                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Phone
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.13     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $21,413.72
         Gill Group Inc.                                            Contingent
         2128 Esprey Court                                          Unliquidated
         Crofton, MD 21114                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Vendor
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.14     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $208.00
         Goji Systems                                               Contingent
         633 W. Skippack Pike                                       Unliquidated
         Ste. 12                                                    Disputed
         Blue Bell, PA 19422
                                                                   Basis for the claim: Vendor
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.15     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $5,000.00
         Gorilla Electric                                           Contingent
         5526 Imperial Ave                                          Unliquidated
         Orlando, FL 32810                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Utility
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.16     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $32.90
         Helget Gas Products                                        Contingent
         4211 S. 102nd Street                                       Unliquidated
         Omaha, NE 68127                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Utility
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                      Page 3 of 7
                              Case 24-10363-LSS                 Doc 1         Filed 03/08/24                 Page 20 of 50

Debtor      Sunrise City Dixie, LLC                                                         Case number (if known)
            Name

3.17     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $2,505.00
         Horty & Horty, PA                                          Contingent
         503 Carr Road, Suite 120                                   Unliquidated
         Wilmington, DE 19809                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: 2022 Tax Reporting- Single Member
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.18     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $614.00
         Intelligent Point of Sale                                  Contingent
         500 Executive Blvd., Suite 305                             Unliquidated
         Ossining, NY 10562                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Monthly Terminal Fee
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.19     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $93,331.00
         Investment Property Associates, LLC                        Contingent
         102 Larch Circle                                           Unliquidated
         Newport, DE 19804                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Loan payable
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.20     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $134,849.80
         Investment Property Assocs, LLC                            Contingent
         102 Larch Circle                                           Unliquidated
         Newport, DE 19804                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Accounting & Financial Management
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.21     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $2,796.02
         Kissimmee Utility Authority                                Contingent
         P.O. Box 423219                                            Unliquidated
         Kissimmee, FL 34742-3219                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Utility
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.22     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $130.00
         Labor Compliance Assist.                                   Contingent
         P.O. Box 881899                                            Unliquidated
         Port Saint Lucie, FL 34988                                 Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Current Compliace Labor Law Poster
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.23     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $906.58
         Martins Famous Pastry Shoppe                               Contingent
         1000 Potato Roll Lane                                      Unliquidated
         Chambersburg, PA 17202-8897                                Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Vendor
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes




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                              Case 24-10363-LSS                 Doc 1         Filed 03/08/24                 Page 21 of 50

Debtor      Sunrise City Dixie, LLC                                                         Case number (if known)
            Name

3.24     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $476.46
         Orlando Waste Paper Co., Inc.                              Contingent
         P.O. Box 547874                                            Unliquidated
         Orlando, FL 32854-7874                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: February Recycle Fee
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.25     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $150.00
         QSROnline                                                  Contingent
         P.O. Box 6496                                              Unliquidated
         Corpus Christi, TX 78466                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Vendor
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.26     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $1,500.00
         RC Landscape Maintenance                                   Contingent
         628 Drew Avenue                                            Unliquidated
         Clermont, FL 34711                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Landscaping
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.27     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $2,753.54
         Restaurant Technologies, Inc.                              Contingent
         12962 Collections Center Drive                             Unliquidated
         Chicago, IL 60693                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Vendor
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.28     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $1,642,000.00
         Revocable Trust of Leoard F. Iacono, Sr.                   Contingent
         102 Larch Circle                                           Unliquidated
         Suite 301                                                  Disputed
         Newport, DE 19804
                                                                   Basis for the claim: Unsecured Note
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.29     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $442,343.94
         Revocable Trust of Leoard F. Iacono, Sr.                   Contingent
         102 Larch Circle                                           Unliquidated
         Suite 301                                                  Disputed
         Newport, DE 19804
                                                                   Basis for the claim: Short term loans
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.30     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $4,712.50
         Rutledge Ecenia, P.A.                                      Contingent
         119. S. Monroe St., Suite 202                              Unliquidated
         Tallahassee, FL 32301                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Liqour License, Beer and Wine License
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 5 of 7
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Debtor      Sunrise City Dixie, LLC                                                         Case number (if known)
            Name

3.31     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $139.49
         Safeguard Business Systems                                 Contingent
         459 Oakshade Road, Suite D                                 Unliquidated
         Shamong, NJ 08088                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Vendor
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.32     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $95.00
         Sauls Backflow Test Inc.                                   Contingent
         3305 Amberley Park Circle                                  Unliquidated
         Kissimmee, FL 34743                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Backflow Certfication
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.33     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $3,900.00
         Socially Winning Marketing                                 Contingent
         114 Ledge Road                                             Unliquidated
         Yarmouth, ME 04096                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Social Media Marketing
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.34     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $5,752.74
         Soverign Property Management                               Contingent
         102 Larch Circle, Suite 301                                Unliquidated
         Newport, DE 19804                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Property Management
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.35     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $1,283.31
         Steven Angrignon, Inc.                                     Contingent
         P.O. Box 120053                                            Unliquidated
         Clermont, FL 32837                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Vendor
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.36     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $14,676.26
         Sysco Corporation                                          Contingent
         200 West Story Road                                        Unliquidated
         Ocoee, FL 34761                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Vendor
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.37     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $428.85
         TECO                                                       Contingent
         P.O. Box 31318                                             Unliquidated
         Tampa, FL 33631-3318                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Gas Service
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes




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                                 Case 24-10363-LSS                      Doc 1         Filed 03/08/24                  Page 23 of 50

Debtor       Sunrise City Dixie, LLC                                                                Case number (if known)
             Name

3.38      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                  $427.07
          Toho Water Authority                                              Contingent
          P.O. Box 30527                                                    Unliquidated
          Tampa, FL 33630-3527                                              Disputed
          Date(s) debt was incurred
                                                                           Basis for the claim:
          Last 4 digits of account number
                                                                           Is the claim subject to offset?    No  Yes

Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

  If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

          Name and mailing address                                                                  On which line in Part1 or Part 2 is the         Last 4 digits of
                                                                                                    related creditor (if any) listed?               account number, if
                                                                                                                                                    any

Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                      Total of claim amounts
5a. Total claims from Part 1                                                                           5a.        $                         3,268.41
5b. Total claims from Part 2                                                                           5b.    +   $                     2,428,931.65
5c. Total of Parts 1 and 2
    Lines 5a + 5b = 5c.                                                                                5c.        $                        2,432,200.06




Official Form 206 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                      Page 7 of 7
                               Case 24-10363-LSS                   Doc 1       Filed 03/08/24            Page 24 of 50

Fill in this information to identify the case:

Debtor name        Sunrise City Dixie, LLC

United States Bankruptcy Court for the:      DISTRICT OF DELAWARE

Case number (if known)
                                                                                                                               Check if this is an
                                                                                                                                  amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.     Does the debtor have any executory contracts or unexpired leases?
        No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
       Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal            Property
(Official Form 206A/B).

2. List all contracts and unexpired leases                                     State the name and mailing address for all other parties with
                                                                               whom the debtor has an executory contract or unexpired
                                                                               lease

2.1.         State what the contract or           Franchise Agreement
             lease is for and the nature of
             the debtor's interest

                State the term remaining
                                                                                    Dixie's Franchising, LLC
             List the contract number of any                                        26 Easton Way
                   government contract                                              Hainesport, NJ 08036


2.2.         State what the contract or           Landlord (Land Lease)
             lease is for and the nature of
             the debtor's interest

                State the term remaining          Lease Expires 1/28/34             Sunrise City Retail Partners, LLC
                                                                                    5555 S. Kirkman Rd., Ste. 201
             List the contract number of any                                        Attn: Randall R. Hodge
                   government contract                                              Kissimmee, FL 32819




Official Form 206G                         Schedule G: Executory Contracts and Unexpired Leases                                                Page 1 of 1
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Fill in this information to identify the case:

Debtor name      Sunrise City Dixie, LLC

United States Bankruptcy Court for the:   DISTRICT OF DELAWARE

Case number (if known)
                                                                                                                          Check if this is an
                                                                                                                              amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                     12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

    1. Do you have any codebtors?

 No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
 Yes
  2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
     creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
     on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
           Column 1: Codebtor                                                                        Column 2: Creditor



          Name                        Mailing Address                                          Name                            Check all schedules
                                                                                                                               that apply:

   2.1    Craig W. Colby              23 S. Main St., Suite 1                                  Sunrise City Retail             D       2.2
                                      Medford, NJ 08955                                        Partners, LLC                    E/F
                                                                                                                               G



   2.2    Michael Iacono              102 Larch Circle                                         Dixie's Franchising,            D
                                      Suite 301                                                LLC                              E/F
                                      Newport, DE 19804                                                                        G       2.1




Official Form 206H                                                    Schedule H: Your Codebtors                                            Page 1 of 1
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Fill in this information to identify the case:

Debtor name         Sunrise City Dixie, LLC

United States Bankruptcy Court for the:    DISTRICT OF DELAWARE

Case number (if known)
                                                                                                                               Check if this is an
                                                                                                                                   amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                              04/22
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

Part 1:      Income

1. Gross revenue from business

      None.
      Identify the beginning and ending dates of the debtor’s fiscal year,            Sources of revenue                           Gross revenue
      which may be a calendar year                                                    Check all that apply                         (before deductions and
                                                                                                                                   exclusions)

      For prior year:                                                                  Operating a business                                   $897,494.00
      From 1/01/2023 to 12/31/2023
                                                                                       Other


      For year before that:                                                            Operating a business                                   $303,175.00
      From 1/01/2022 to 12/31/2022
                                                                                       Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

      None.
                                                                                      Description of sources of revenue            Gross revenue from
                                                                                                                                   each source
                                                                                                                                   (before deductions and
                                                                                                                                   exclusions)

Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $7,575. (This amount may be adjusted on 4/01/25
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

      None.
      Creditor's Name and Address                                 Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                      Check all that apply
      3.1.
             Aramark                                              01/30/2024                           $387.10         Secured debt
             2680 Palumbo Drive                                                                                        Unsecured loan repayments
             Lexington, KY 40509                                                                                       Suppliers or vendors
                                                                                                                       Services
                                                                                                                       Other


Official Form 207                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                   page 1
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Debtor       Sunrise City Dixie, LLC                                                       Case number (if known)



      Creditor's Name and Address                             Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                  Check all that apply
      3.2.
              Charter Communications                          12/27/2023                           $221.81         Secured debt
              4145 S. Falkenburg Road                                                                              Unsecured loan repayments
              Riverview, FL 33578-8652                                                                             Suppliers or vendors
                                                                                                                   Services
                                                                                                                   Other

      3.3.
              Charter Communications                          01/30/2024                           $234.71         Secured debt
              4145 S. Falkenburg Road                                                                              Unsecured loan repayments
              Riverview, FL 33578-8652                                                                             Suppliers or vendors
                                                                                                                   Services
                                                                                                                   Other

      3.4.
              Containter Rental Co., Inc.                     01/31/2024                         $1,022.91         Secured debt
              P.O. Box 547874                                                                                      Unsecured loan repayments
              Orlando, FL 32854                                                                                    Suppliers or vendors
                                                                                                                   Services
                                                                                                                   Other

      3.5.
              Dixie's Franchising                             12/08/2023                         $2,186.79         Secured debt
              26 Easton Way                                                                                        Unsecured loan repayments
              Hainesport, NJ 08036                                                                                 Suppliers or vendors
                                                                                                                   Services
                                                                                                                   Other Franchise costs

      3.6.
              Dixie's Franchising                             01/05/2024                         $2,424.30         Secured debt
              26 Easton Way                                                                                        Unsecured loan repayments
              Hainesport, NJ 08036                                                                                 Suppliers or vendors
                                                                                                                   Services
                                                                                                                   Other Franchise costs

      3.7.
              EcoLab                                          12/12/2023                           $147.28         Secured debt
              26252 Network Place                                                                                  Unsecured loan repayments
              Chicago, IL 60673-1262                                                                               Suppliers or vendors
                                                                                                                   Services
                                                                                                                   Other

      3.8.
              Edward Don and Company                          01/09/2024                           $500.00         Secured debt
              9801 Adam Don Parkway                                                                                Unsecured loan repayments
              Woodridge, IL 60517                                                                                  Suppliers or vendors
                                                                                                                   Services
                                                                                                                   Other

      3.9.
              Edward Don and Company                          01/31/2024                           $500.00         Secured debt
              9801 Adam Don Parkway                                                                                Unsecured loan repayments
              Woodridge, IL 60517                                                                                  Suppliers or vendors
                                                                                                                   Services
                                                                                                                   Other



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Debtor      Sunrise City Dixie, LLC                                                         Case number (if known)



      Creditor's Name and Address                              Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                   Check all that apply
      3.10
      .    Fire Alarm & Security Technologies,                 12/12/2023                           $176.55         Secured debt
             Inc.                                                                                                   Unsecured loan repayments
             Pacific Rim Fire Protection                                                                            Suppliers or vendors
             420 Manor Drive
             Merritt Island, FL 32952                                                                               Services
                                                                                                                    Other

      3.11
      .    Fire Alarm & Security Technologies,                 01/30/2024                           $532.14         Secured debt
             Inc.                                                                                                   Unsecured loan repayments
             Pacific Rim Fire Protection                                                                            Suppliers or vendors
             420 Manor Drive
             Merritt Island, FL 32952                                                                               Services
                                                                                                                    Other

      3.12
      .    Florida Department of Revenue                       01/30/204                            $263.91         Secured debt
             5050 W. Tennessee St.                                                                                  Unsecured loan repayments
             Tallahassee, FL 32399-0112                                                                             Suppliers or vendors
                                                                                                                    Services
                                                                                                                    Other Taxes

      3.13
      .    Florida Department of State                         02/13/2024                           $138.75         Secured debt
             Division of Corporations                                                                               Unsecured loan repayments
             P.O. Box 6198                                                                                          Suppliers or vendors
             Tallahassee, FL 32314                                                                                  Services
                                                                                                                    Other Fees

      3.14
      .    Fluid Audio Communications, Inc.                    01/08/2024                             $95.40        Secured debt
             2550 Boulevard of the Generals                                                                         Unsecured loan repayments
             Suite 320                                                                                              Suppliers or vendors
             West Norriton, PA 19403
                                                                                                                    Services
                                                                                                                    Other

      3.15
      .    Gage                                                12/12/2023                             $52.00        Secured debt
             11815 Sun Belt Ct                                                                                      Unsecured loan repayments
             Baton Rouge, LA 70809                                                                                  Suppliers or vendors
                                                                                                                    Services
                                                                                                                    Other

      3.16
      .    Gage                                                12/26/2023                             $52.00        Secured debt
             11815 Sun Belt Ct                                                                                      Unsecured loan repayments
             Baton Rouge, LA 70809                                                                                  Suppliers or vendors
                                                                                                                    Services
                                                                                                                    Other

      3.17
      .    Gage                                                01/30/2024                             $52.00        Secured debt
             11815 Sun Belt Ct                                                                                      Unsecured loan repayments
             Baton Rouge, LA 70809                                                                                  Suppliers or vendors
                                                                                                                    Services
                                                                                                                    Other


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Debtor      Sunrise City Dixie, LLC                                                        Case number (if known)



      Creditor's Name and Address                             Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                  Check all that apply
      3.18
      .    Goji Systems                                       12/04/2023                           $208.00         Secured debt
             633 West Skippack Pike                                                                                Unsecured loan repayments
             Suite 12                                                                                              Suppliers or vendors
             Blue Bell, PA 19422
                                                                                                                   Services
                                                                                                                   Other

      3.19
      .    Goji Systems                                       01/01/2024                           $208.00         Secured debt
             633 West Skippack Pike                                                                                Unsecured loan repayments
             Suite 12                                                                                              Suppliers or vendors
             Blue Bell, PA 19422
                                                                                                                   Services
                                                                                                                   Other

      3.20
      .    Goji Systems                                       02/01/2024                           $208.00         Secured debt
             633 West Skippack Pike                                                                                Unsecured loan repayments
             Suite 12                                                                                              Suppliers or vendors
             Blue Bell, PA 19422
                                                                                                                   Services
                                                                                                                   Other

      3.21
      .    Helget Gas Products                                12/15/2023                           $139.57         Secured debt
             4211 S. 102nd Street                                                                                  Unsecured loan repayments
             Omaha, NE 68127                                                                                       Suppliers or vendors
                                                                                                                   Services
                                                                                                                   Other

      3.22
      .    Helget Gas Products                                01/16/2024                           $168.47         Secured debt
             4211 S. 102nd Street                                                                                  Unsecured loan repayments
             Omaha, NE 68127                                                                                       Suppliers or vendors
                                                                                                                   Services
                                                                                                                   Other

      3.23
      .    Helget Gas Products                                02/24/2024                           $146.02         Secured debt
             4211 S. 102nd Street                                                                                  Unsecured loan repayments
             Omaha, NE 68127                                                                                       Suppliers or vendors
                                                                                                                   Services
                                                                                                                   Other

      3.24
      .    Intelligent Point of Sale                          12/01/2023                           $614.00         Secured debt
             500 Executive Blvd., Suite 305                                                                        Unsecured loan repayments
             Ossining, NY 10562                                                                                    Suppliers or vendors
                                                                                                                   Services
                                                                                                                   Other

      3.25
      .    Intelligent Point of Sale                          01/02/2024                           $614.00         Secured debt
             500 Executive Blvd., Suite 305                                                                        Unsecured loan repayments
             Ossining, NY 10562                                                                                    Suppliers or vendors
                                                                                                                   Services
                                                                                                                   Other

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Debtor      Sunrise City Dixie, LLC                                                        Case number (if known)



      Creditor's Name and Address                             Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                  Check all that apply
      3.26
      .    Intelligent Point of Sale                          01/30/2024                           $465.38         Secured debt
             500 Executive Blvd., Suite 305                                                                        Unsecured loan repayments
             Ossining, NY 10562                                                                                    Suppliers or vendors
                                                                                                                   Services
                                                                                                                   Other

      3.27
      .    Intelligent Point of Sale                          02/02/2024                           $614.00         Secured debt
             500 Executive Blvd., Suite 305                                                                        Unsecured loan repayments
             Ossining, NY 10562                                                                                    Suppliers or vendors
                                                                                                                   Services
                                                                                                                   Other

      3.28
      .    Kissimmee Utility Authority                        12/12/2023                         $3,514.02         Secured debt
             P.O. Box 423219                                                                                       Unsecured loan repayments
             Kissimmee, FL 34742-3219                                                                              Suppliers or vendors
                                                                                                                   Services
                                                                                                                   Other

      3.29
      .    Kissimmee Utility Authority                        01/11/2024                         $3,027.84         Secured debt
             P. O. Box 423219                                                                                      Unsecured loan repayments
             Kissimmee, FL 34742-3219                                                                              Suppliers or vendors
                                                                                                                   Services
                                                                                                                   Other

      3.30
      .    Kissimmee Utility Authority                        02/22/2024                         $2,973.36         Secured debt
             P.O. Box 423219                                                                                       Unsecured loan repayments
             Kissimmee, FL 34742-3219                                                                              Suppliers or vendors
                                                                                                                   Services
                                                                                                                   Other

      3.31
      .    Martins Famous Pastry Shoppe, Inc.                 01/12/2024                         $1,136.18         Secured debt
             1000 Potato Roll Lane                                                                                 Unsecured loan repayments
             Chambersburg, PA 17202-8897                                                                           Suppliers or vendors
                                                                                                                   Services
                                                                                                                   Other

      3.32
      .    MSA Group- Main Street America                     12/26/2023                         $2,261.50         Secured debt
             Group                                                                                                 Unsecured loan repayments
             P.O. Box 981409                                                                                       Suppliers or vendors
             Boston, MA 02298-1409
                                                                                                                   Services
                                                                                                                   Other

      3.33
      .    MSA Group- Main Street America                     01/12/2024                         $2,261.50         Secured debt
             Group                                                                                                 Unsecured loan repayments
             P.O. Box 981409                                                                                       Suppliers or vendors
             Boston, MA 02298-1409
                                                                                                                   Services
                                                                                                                   Other

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Debtor      Sunrise City Dixie, LLC                                                         Case number (if known)



      Creditor's Name and Address                              Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                   Check all that apply
      3.34
      .    Orlando Waste Paper Co., Inc.                       01/31/2024                           $468.23         Secured debt
             P.O. Box 547874                                                                                        Unsecured loan repayments
             Orlando, FL 32854-7874                                                                                 Suppliers or vendors
                                                                                                                    Services
                                                                                                                    Other

      3.35
      .    Positive Impacts South LLC                          12/13/2023                           $679.00         Secured debt
             2350 Raintree Lake Circle                                                                              Unsecured loan repayments
             Merritt Island, FL 32953                                                                               Suppliers or vendors
                                                                                                                    Services
                                                                                                                    Other

      3.36
      .    QSROnline                                           12/07/2023                           $150.00         Secured debt
             P.O. Box 6496                                                                                          Unsecured loan repayments
             Corpus Christi, TX 78466                                                                               Suppliers or vendors
                                                                                                                    Services
                                                                                                                    Other

      3.37
      .    QSROnline                                           01/03/2024                           $150.00         Secured debt
             P.O. Box 6496                                                                                          Unsecured loan repayments
             Corpus Christi, TX 78466                                                                               Suppliers or vendors
                                                                                                                    Services
                                                                                                                    Other

      3.38
      .    QSROnline                                           02/02/2024                           $150.00         Secured debt
             P.O. Box 6496                                                                                          Unsecured loan repayments
             Corpus Christi, TX 78466                                                                               Suppliers or vendors
                                                                                                                    Services
                                                                                                                    Other

      3.39
      .    RC Landscape Maintenance, Inc.                      01/31/2024                         $1,500.00         Secured debt
             628 Drew Avenue                                                                                        Unsecured loan repayments
             Clermont, FL 34711                                                                                     Suppliers or vendors
                                                                                                                    Services
                                                                                                                    Other

      3.40
      .    Restaurant Technologies, Inc.                       01/30/2024                         $1,714.37         Secured debt
             12962 Collections Center Drive                                                                         Unsecured loan repayments
             Chicago, IL 60693                                                                                      Suppliers or vendors
                                                                                                                    Services
                                                                                                                    Other

      3.41
      .    Steven Angrignon, Inc.                              12/12/2023                           $314.25         Secured debt
             P.O. Box 120053                                                                                        Unsecured loan repayments
                                                                                                                    Suppliers or vendors
                                                                                                                    Services
                                                                                                                    Other

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Debtor      Sunrise City Dixie, LLC                                                       Case number (if known)



      Creditor's Name and Address                            Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                 Check all that apply
      3.42
      .    Sysco Corporation                                 12/07/2023                         $3,819.54         Secured debt
             200 West Story Road                                                                                  Unsecured loan repayments
             Ocoee, FL 34761                                                                                      Suppliers or vendors
                                                                                                                  Services
                                                                                                                  Other

      3.43
      .    Sysco Corporation                                 12/12/2023                         $3,206.10         Secured debt
             200 West Story Road                                                                                  Unsecured loan repayments
             Ocoee, FL 34761                                                                                      Suppliers or vendors
                                                                                                                  Services
                                                                                                                  Other

      3.44
      .    Sysco Corporation                                 12/20/2023                         $3,162.04         Secured debt
             200 West Story Road                                                                                  Unsecured loan repayments
             Ocoee, FL 34761                                                                                      Suppliers or vendors
                                                                                                                  Services
                                                                                                                  Other

      3.45
      .    Sysco Corporation                                 12/27/2023                         $3,889.77         Secured debt
             200 West Story Road                                                                                  Unsecured loan repayments
             Ocoee, FL 34761                                                                                      Suppliers or vendors
                                                                                                                  Services
                                                                                                                  Other

      3.46
      .    Sysco Corporation                                 01/04/2024                         $3,996.03         Secured debt
             200 West Story Road                                                                                  Unsecured loan repayments
             Ocoee, FL 34761                                                                                      Suppliers or vendors
                                                                                                                  Services
                                                                                                                  Other

      3.47
      .    Sysco Corporation                                 01/09/2024                         $2,184.50         Secured debt
             200 West Story Road                                                                                  Unsecured loan repayments
             Ocoee, FL 34761                                                                                      Suppliers or vendors
                                                                                                                  Services
                                                                                                                  Other

      3.48
      .    Sysco Corporation                                 01/11/2024                         $2,403.60         Secured debt
             200 West Story Road                                                                                  Unsecured loan repayments
             Ocoee, FL 34761                                                                                      Suppliers or vendors
                                                                                                                  Services
                                                                                                                  Other

      3.49
      .    Sysco Corporation                                 01/22/2024                         $2,734.87         Secured debt
             200 West Story Road                                                                                  Unsecured loan repayments
             Ocoee, FL 34761                                                                                      Suppliers or vendors
                                                                                                                  Services
                                                                                                                  Other

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      Creditor's Name and Address                            Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                 Check all that apply
      3.50
      .    Sysco Corporation                                 01/25/2024                         $2,423.75         Secured debt
             200 West Story Road                                                                                  Unsecured loan repayments
             Ocoee, FL 34761                                                                                      Suppliers or vendors
                                                                                                                  Services
                                                                                                                  Other

      3.51
      .    Sysco Corporation                                 011/30/2024                        $3,955.23         Secured debt
             200 West Story Road                                                                                  Unsecured loan repayments
             Ocoee, FL 34761                                                                                      Suppliers or vendors
                                                                                                                  Services
                                                                                                                  Other

      3.52
      .    Sysco Corporation                                 02/02/2024                         $1,059.21         Secured debt
             200 West Story Road                                                                                  Unsecured loan repayments
             Ocoee, FL 34761                                                                                      Suppliers or vendors
                                                                                                                  Services
                                                                                                                  Other

      3.53
      .    Sysco Corporation                                 02/07/2024                         $2,862.53         Secured debt
             200 West Story Road                                                                                  Unsecured loan repayments
             Ocoee, FL 34761                                                                                      Suppliers or vendors
                                                                                                                  Services
                                                                                                                  Other

      3.54
      .    Sysco Corporation                                 02/15/2024                         $2,312.88         Secured debt
             200 West Story Road                                                                                  Unsecured loan repayments
             Ocoee, FL 34761                                                                                      Suppliers or vendors
                                                                                                                  Services
                                                                                                                  Other

      3.55
      .    Sysco Corporation                                 02/28/2024                         $2,744.39         Secured debt
             200 West Story Road                                                                                  Unsecured loan repayments
             Ocoee, FL 34761                                                                                      Suppliers or vendors
                                                                                                                  Services
                                                                                                                  Other

      3.56
      .    TECO                                              12/27/2023                           $361.53         Secured debt
             P.O. Box 31318                                                                                       Unsecured loan repayments
             Tampa, FL 33631-3318                                                                                 Suppliers or vendors
                                                                                                                  Services
                                                                                                                  Other

      3.57
      .    TECO                                              01/30/2024                           $365.97         Secured debt
             P.O. Box 31318                                                                                       Unsecured loan repayments
             Tampa, FL 33631-3318                                                                                 Suppliers or vendors
                                                                                                                  Services
                                                                                                                  Other

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Debtor      Sunrise City Dixie, LLC                                                       Case number (if known)



      Creditor's Name and Address                            Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                 Check all that apply
      3.58
      .    Toho Water Authority                              12/12/2023                           $218.27         Secured debt
             P.O. Box 30527                                                                                       Unsecured loan repayments
             Tampa, FL 33630-3527                                                                                 Suppliers or vendors
                                                                                                                  Services
                                                                                                                  Other

      3.59
      .    Toho Water Authority                              01/11/2024                           $227.87         Secured debt
             P.O. Box 30527                                                                                       Unsecured loan repayments
             Tampa, FL 33630-3527                                                                                 Suppliers or vendors
                                                                                                                  Services
                                                                                                                  Other

      3.60
      .    Toho Water Authority                              2/28/2024                            $291.53         Secured debt
             P.O. Box 30527                                                                                       Unsecured loan repayments
             Tampa, FL 33630-3527                                                                                 Suppliers or vendors
                                                                                                                  Services
                                                                                                                  Other

      3.61
      .    CardConnect                                       12/04/2023                         $1,233.64         Secured debt
             1000 Continental Drive, #300                                                                         Unsecured loan repayments
             King of Prussia, PA 19406                                                                            Suppliers or vendors
                                                                                                                  Services
                                                                                                                  Other

      3.62
      .    CardConnect                                       12/31/2023                             $94.90        Secured debt
             1000 Continental Drive, #300                                                                         Unsecured loan repayments
             King of Prussia, PA 19406                                                                            Suppliers or vendors
                                                                                                                  Services
                                                                                                                  Other

      3.63
      .    CardConnect                                       01/03/2024                         $1,667.22         Secured debt
             1000 Continental Drive, #300                                                                         Unsecured loan repayments
             King of Prussia, PA 19406                                                                            Suppliers or vendors
                                                                                                                  Services
                                                                                                                  Other

      3.64
      .    CardConnect                                       01/31/2024                             $41.99        Secured debt
             1000 Continental Drive, #300                                                                         Unsecured loan repayments
             King of Prussia, PA 19406                                                                            Suppliers or vendors
                                                                                                                  Services
                                                                                                                  Other

      3.65
      .    CardConnect                                       02/05/2024                         $1,138.09         Secured debt
             1000 Continental Drive, #300                                                                         Unsecured loan repayments
             King of Prussia, PA 19406                                                                            Suppliers or vendors
                                                                                                                  Services
                                                                                                                  Other


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Debtor      Sunrise City Dixie, LLC                                                         Case number (if known)



      Creditor's Name and Address                              Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                   Check all that apply
      3.66
      .    Truist Bank                                         12/31/2023                             $36.00        Secured debt
             150 S. Warner Rd.                                                                                      Unsecured loan repayments
             Ste. 270                                                                                               Suppliers or vendors
             King of Prussia, PA 19406
                                                                                                                    Services
                                                                                                                    Other

      3.67
      .    Truist Bank                                         01/31/2024                             $39.05        Secured debt
             150 S. Warner Rd.                                                                                      Unsecured loan repayments
             Ste. 270                                                                                               Suppliers or vendors
             King of Prussia, PA 19406
                                                                                                                    Services
                                                                                                                    Other

      3.68
      .    Florida Department of Revenue                       12/13/2023                         $3,413.60         Secured debt
             5050 W. Tennessee St.                                                                                  Unsecured loan repayments
             Tallahassee, FL 32399-0012                                                                             Suppliers or vendors
                                                                                                                    Services
                                                                                                                    Other Sales Tax

      3.69
      .    Florida Department of Revenue                       01/18/2024                         $3,754.63         Secured debt
             5050 W. Tennessee St.                                                                                  Unsecured loan repayments
             Tallahassee, FL 32399-0112                                                                             Suppliers or vendors
                                                                                                                    Services
                                                                                                                    Other Sales tax

      3.70
      .    Florida Department of Revenue                       02/12/2024                         $3,082.32         Secured debt
             5050 W. Tennessee St.                                                                                  Unsecured loan repayments
             Tallahassee, FL 32399-0112                                                                             Suppliers or vendors
                                                                                                                    Services
                                                                                                                    Other sales tax

      3.71
      .    Florida Department of Revenue                       01/04/2024                             $60.00        Secured debt
             5050 W. Tennessee St.                                                                                  Unsecured loan repayments
             Tallahassee, FL 32399-0112                                                                             Suppliers or vendors
                                                                                                                    Services
                                                                                                                    Other Re-emp tax

      3.72
      .    Secretary of State                                  02/14/2024                           $300.00         Secured debt
             Division of Corporations                                                                               Unsecured loan repayments
             Franchise Tax                                                                                          Suppliers or vendors
             PO Box 898                                                                                             Services
             Dover, DE 19903
                                                                                                                    Other LLC registration

      3.73
      .    Secretary of State                                  02/14/2024                           $300.00         Secured debt
             Division of Corporations                                                                               Unsecured loan repayments
             Franchise Tax                                                                                          Suppliers or vendors
             PO Box 898                                                                                             Services
             Dover, DE 19903
                                                                                                                    Other LLC registration


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      Creditor's Name and Address                                  Dates                 Total amount of value           Reasons for payment or transfer
                                                                                                                         Check all that apply
      3.74
      .    Linkhorst & Hockin                                      03/04/2024                         $3,409.38           Secured debt
              4495 Military Trail                                                                                         Unsecured loan repayments
              #106                                                                                                        Suppliers or vendors
              Jupiter, FL 33458
                                                                                                                          Services
                                                                                                                          Other

      3.75
      .    Potter Anderson & Corroon LLP                           03/04/2024                         $3,060.50           Secured debt
              1313 North Market Street                                                                                    Unsecured loan repayments
              Wilmington, DE 19899                                                                                        Suppliers or vendors
                                                                                                                          Services
                                                                                                                          Other


4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $7,575. (This amount
   may be adjusted on 4/01/25 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

      None.
      Insider's name and address                                   Dates                 Total amount of value           Reasons for payment or transfer
      Relationship to debtor

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

      None
      Creditor's name and address                      Describe of the Property                                        Date                 Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

      None
      Creditor's name and address                      Description of the action creditor took                         Date action was                Amount
                                                                                                                       taken

Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

      None.
              Case title                               Nature of case              Court or agency's name and                 Status of case
              Case number                                                          address
      7.1.    Landlord Dispute                         Threatened                  N/A                                         Pending
              N/A                                      Eviction                                                                On appeal
                                                                                                                               Concluded

8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a

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    receiver, custodian, or other court-appointed officer within 1 year before filing this case.

      None

Part 4:       Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

      None
               Recipient's name and address             Description of the gifts or contributions                  Dates given                         Value


Part 5:       Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

      None
      Description of the property lost and              Amount of payments received for the loss                   Dates of loss          Value of property
      how the loss occurred                                                                                                                            lost
                                                        If you have received payments to cover the loss, for
                                                        example, from insurance, government compensation, or
                                                        tort liability, list the total received.

                                                        List unpaid claims on Official Form 106A/B (Schedule
                                                        A/B: Assets – Real and Personal Property).

Part 6:       Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

      None.
                Who was paid or who received              If not money, describe any property transferred               Dates               Total amount or
                the transfer?                                                                                                                        value
                Address
      11.1.     Bayard P.A.
                600 N. King St
                Suite 400
                Wilmington, DE 19801                      Attorney Fees                                                                          $22,500.00

                Email or website address
                ejohnson@bayardlaw.com

                Who made the payment, if not debtor?




12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

      None.
      Name of trust or device                             Describe any property transferred                     Dates transfers             Total amount or
                                                                                                                were made                            value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.
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      None.
             Who received transfer?                    Description of property transferred or                     Date transfer            Total amount or
             Address                                   payments received or debts paid in exchange                was made                          value

 Part 7:    Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


      Does not apply
               Address                                                                                              Dates of occupancy
                                                                                                                    From-To

Part 8:     Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

          No. Go to Part 9.
          Yes. Fill in the information below.


               Facility name and address               Nature of the business operation, including type of services               If debtor provides meals
                                                       the debtor provides                                                        and housing, number of
                                                                                                                                  patients in debtor’s care

Part 9:     Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

          No.
          Yes. State the nature of the information collected and retained.

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

          No. Go to Part 10.
          Yes. Does the debtor serve as plan administrator?


Part 10:    Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

      None
               Financial Institution name and          Last 4 digits of            Type of account or          Date account was               Last balance
               Address                                 account number              instrument                  closed, sold,              before closing or
                                                                                                               moved, or                           transfer
                                                                                                               transferred

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.




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      None
      Depository institution name and address                Names of anyone with                  Description of the contents                 Does debtor
                                                             access to it                                                                      still have it?
                                                             Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


      None
      Facility name and address                              Names of anyone with                  Description of the contents                 Does debtor
                                                             access to it                                                                      still have it?


Part 11:    Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

     None

Part 12:    Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

     Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
     owned, operated, or utilized.

     Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
     similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

          No.
          Yes. Provide details below.

      Case title                                             Court or agency name and              Nature of the case                          Status of case
      Case number                                            address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

          No.
          Yes. Provide details below.

      Site name and address                                  Governmental unit name and                Environmental law, if known             Date of notice
                                                             address

24. Has the debtor notified any governmental unit of any release of hazardous material?

          No.
          Yes. Provide details below.

      Site name and address                                  Governmental unit name and                Environmental law, if known             Date of notice
                                                             address

Part 13:    Details About the Debtor's Business or Connections to Any Business

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25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

      None
   Business name address                             Describe the nature of the business               Employer Identification number
                                                                                                       Do not include Social Security number or ITIN.

                                                                                                       Dates business existed

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
          None
      Name and address                                                                                                                 Date of service
                                                                                                                                       From-To
      26a.1.        Investment Property Associates, LLC
                    102 Larch Circle
                    Newport, DE 19804
      26a.2.        Soverign Property Management, LLC
                    102 Larch Circle, Suite 301
                    Newport, DE 19804

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

           None
      Name and address                                                                                                                 Date of service
                                                                                                                                       From-To
      26b.1.        Soverign Property Management, LLC
                    102 Larch Circle, Suite 301
                    Newport, DE 19804

    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

           None
      Name and address                                                                               If any books of account and records are
                                                                                                     unavailable, explain why
      26c.1.        Soverign Property Management, LLC
                    102 Larch Circle, Suite 301
                    Newport, DE 19804

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

           None
      Name and address

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

          No
          Yes. Give the details about the two most recent inventories.




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              Name of the person who supervised the taking of the                   Date of inventory       The dollar amount and basis (cost, market,
              inventory                                                                                     or other basis) of each inventory
      27.1                                                                                                  $4,066.00 calculated inventory - no
      .                                                                             December 2023           detailed inventory taken

              Name and address of the person who has possession of
              inventory records
              Soverign Property Management, LLC
              102 Larch Circle, Suite 301
              Newport, DE 19804


28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

      Name                                   Address                                             Position and nature of any              % of interest, if
                                                                                                 interest                                any
      Leonard F. Iacono, Sr.                 102 Larch Circle                                    Managing Member                         100% Owner
                                             Suite 301
                                             Wilmington, DE 19804


29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


          No
          Yes. Identify below.


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

          No
          Yes. Identify below.

              Name and address of recipient           Amount of money or description and value of               Dates               Reason for
                                                      property                                                                      providing the value
      30.1 Revocable Trust of Leoard F.               Granting of Leasehold Mortgage,
      .    Iacono, Sr.                                Assignment of Leases and Rents,
                                                      Security Agreement and Fixture Filing                     11/13/2023          Loan

              Relationship to debtor
              Affiliate


31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

          No
          Yes. Identify below.

   Name of the parent corporation                                                                     Employer Identification number of the parent
                                                                                                      corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

          No
          Yes. Identify below.

   Name of the pension fund                                                                           Employer Identification number of the pension
                                                                                                      fund



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SUNRISE CITY DIXIE, LLC                 Doc 1 Filed 03/08/24
                                  ARAMARK                      Page 44 of 50 SEGLIAS, PALLAS
                                                                    COHEN,
102 LARCH CIRCLE                  2680 PALUMBO DRIVE                1600 MARKET STREET
SUITE 301                         LEXINGTON, KY 40509               32ND FLOOR
NEWPORT, DE 19804                                                   PHILADELPHIA, PA 19103
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ERICKA JOHNSON                   ARGENIS DI LUIGI                   CONTAINTER RENTAL CO., INC.
BAYARD P.A.                      5122 ADELAIDE DR # 5122            P.O. BOX 547874
600 N. KING ST                   KISSIMMEE, FL 34746                ORLANDO, FL 32854
SUITE 400
WILMINGTON, DE 19801

ACCENT LIGHTING, INC.            ARIANA P. BRANDT                   CRAIG W. COLBY
10322 E. STONEGATE LANE          9907 BARLEY CLUB DR                23 S. MAIN ST., SUITE 1
STE. 100                         APT 3                              MEDFORD, NJ 08955
WICHITA, KS 67206                ORLANDO, FL 32837


AKEEM P. KNOX                    BSN SPORTS, LLC                    DANIEL A. GONZALEZ
3250 COTTONWOOD COURT            P.O. BOX 841393                    11966 REEDY CREEK DR
KISSIMMEE, FL 34746              DALLAS, TX 75284-1393              APT 101
                                                                    ORLANDO, FL 32836


ALBERTO REBOLLAR                 CASPERS SERVICE COMPANY            DANIEL E. MATA
5388 LONESOME DOVE DR            6845 MAPLE LANE                    2212 GRAND CAYMAN CT
KISSIMMEE, FL 34746              TAMPA, FL 33610                    KISSIMMEE, FL 34741




ALEJANDRA M. GONZALEZ            CHARTER COMMUNICATIONS             DANILE E. RANGOSCH
4626 TRIBUTE TRL                 4145 S. FALKENBURG ROAD            5283 CANE ISLAND LOOP
KISSIMMEE, FL 34746              RIVERVIEW, FL 33578-8652           APT 104
                                                                    KISSIMMEE, FL 34746


ALTAGRACIA N. LOPEZ              CHIQUINQUIRA V. RINCON             DAVID L. LOPEZ
4729 CIRENTO DR                  854 MARCEL LOOP # N-A              4122 WELLINGTON WOODS CIR
KISSIMMEE, FL 34746              DAVENPORT, FL 33837                 APT 101
                                                                    KISSIMMEE, FL 34741


ANDREA P. VELEZ                  CHRISTAL T. TULLON                 DE DIVISION OF REVENUE
5292 PARADISE CAY CIR # 5292     411 TARPON ST                      540 SOUTH DUPONT HIGHWAY
KISSIMMEE, FL 34746              KISSIMMEE, FL 34744                SUITE 2
                                                                    DOVER, DE 19901


ANDREA V. SUAREZ                 CHRISTIANA CHARLES                 DE DIVISION OF REVENUE
111 COUNTRY CREEK LN # 111       1614 REDFIN DR                     820 SILVER LAKE BLVD.
KISSIMMEE, FL 34746              KISSIMMEE, FL 34759                SUITE 100
                                                                    DOVER, DE 19904


ANGELICA M. GONZALEZ             CIARA N. HAMILTON                  DE DIVISON OF REVENUE
4626 TRIBUTE TRL                 4964 W IRLO BRONSON MEM. HGWY      820 N. FRENCH STREET
KISSIMMEE, FL 34746               #12                               WILMINGTON, DE 19801
                                 KISSIMMEE, FL 34746
DELAWARE ATTORNEYCase   24-10363-LSS
                     GENERAL     EDWARDDoc 1 AND
                                         DON   FiledCOMPANY
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                                                                      FLUID  AUDIO COMMUNICATIONSIN
CARVEL STATE OFFICE BUILDING     9801 ADAM DON PARKWAY                2550 BLVD. OF THE GENERALS
820 N. FRENCH ST.                WOODRIDGE, IL 60517                  SUITE 320
WILMINGTON, DE 19801                                                  WEST NORRITON, PA 19403


DELAWARE STATE TREASURY           EDWIN GONZALEZ                      FRANCISCO JAVIER BRITO
820 SILVER LAKE BLVD.             4720 CIRENTO DR LOT 167             4857 CORAL CASTLE DRIVE
SUITE 100                         KISSIMMEE, FL 34746                 KISSIMMEE, FL 34746
DOVER, DE 19904


DENNY D. LOPEZ                    EDWIN Y. GOMEZ                      GABRIEL A. DOS SANTOS
4729 CIRENTO DR                   5122 ADELAIDE DR                    4543 STORYTELLING WAY
KISSIMMEE, FL 34746               # 5122                              KISSIMMEE, FL 34746
                                  KISSIMMEE, FL 34746


DENNY J. LOPEZ                    ELIEZER A. VERGEL                   GABRIELA A. MOLINA
4729 CIRENTO DR                   3038 SEAVIEW CASTLE DR              2959 CLIPPER COVE LN
KISSIMMEE, FL 34746               KISSIMMEE, FL 34746                 APT 202
                                                                      KISSIMMEE, FL 34741


DEPARTMENT OF REVENUE             ERIC JACKSON                        GAGE
INTERNAL REVENUE SERVICE          3276 RIDGELAND AVE                  11815 SUN BELT CT
1111 CONSTITUTION AVE., NW        MACON, GA 31204                     BATON ROUGE, LA 70809
WASHINGTON, DC 20224


DEYIRAN DARIEL LIRIANO            ESTERLINE DORISME                   GENY A. VILLASMIL
WATER VIEW BLV 2207               2308 CRESCENT MOOD                  2101 CASSIA CIR
KISSIMMEE, FL 34746               KISSIMMEE, FL 34746                 APT D
                                                                      KISSIMMEE, FL 34741


DIANNA BAUTISTA                   FIRE ALARM & SEC TECH., INC.        GERIELYS N. GUZMAN
2362 SIESTA LN                    PACIFIC RIM FIRE PROTECTION         4343 SUNNY CREEK PL
KISSIMMEE, FL 34746               420 MANOR DRIVE                     KISSIMMEE, FL 34746
                                  MERRITT ISLAND, FL 32952


DIERRE S. LANE                    FLOIDA ATTORNEY GENERAL             GILL GROUP INC.
309 BENITA ST                     THE CAPITOL, PL 01                  2128 ESPREY COURT
KISSIMMEE, FL 34744               TALLAHASSEE, FL 32399-1050          CROFTON, MD 21114




DIXIE'S FRANCHISING, LLC          FLORIDA DEPARTMENT OF REVENUE GINA A. VILLASMIL
26 EASTON WAY                     5050 W. TENNESSEE ST.         2101 CASSIA CIR
HAINESPORT, NJ 08036              TALLAHASSEE, FL 32399-0112    APT D
                                                                KISSIMMEE, FL 34741


DUSTIN X. VELEZ                   FLORIDA DEPARTMENT OF REVENUE GOJI SYSTEMS
2103 WALDEN PARK CIR              P.O. BOX 6668                 633 W. SKIPPACK PIKE
APT 101                           TALLAHASSEE, FL 32314-6668    STE. 12
KISSIMMEE, FL 34744                                             BLUE BELL, PA 19422
GORILLA ELECTRIC      Case 24-10363-LSS   Doc 1 PROPERTY
                                    INVESTMENT   Filed 03/08/24 Page
                                                           ASSOCS, LLC 46 of 50
                                                                       JUAN  A. DECLET
5526 IMPERIAL AVE                   102 LARCH CIRCLE                   1364 RAINTREE BLEND
ORLANDO, FL 32810                   NEWPORT, DE 19804                  CLERMONT, FL 34714




GUSTAVO V. ROMERO                   ISAUD D. MARIN                     JUAN PABLO ALVARADO
3255 PRIME PARK CIRCLE              3216 W OAK ST                      7136 ALTIS WAY
KISSIMMEE, FL 34746                 KISSIMMEE, FL 34741                APT 2-208
                                                                       ORLANDO, FL 32836


HELGET GAS PRODUCTS                 JAHMANI J. CHISHOLM                JULIO A. TORRES
4211 S. 102ND STREET                2382 WALNUT CANYON DR              1015 DUDLEY DR # 1015
OMAHA, NE 68127                     KISSIMMEE, FL 34758                KISSIMMEE, FL 34758




HORTY & HORTY, PA                   JAIVON J. CHISHOLM                 KEINNY VIVIANA CORDERO
503 CARR ROAD, SUITE 120            2382 WALNUT CANYON DR              3230 WHITEFIELD DR
WILMINGTON, DE 19809                KISSIMMEE, FL 34758                KISSIMMEE, FL 34747




IBRAHIM CHEHTANE                    JESUS G. DOMINGUEZ                 KEVIN J. RAMOS
1187 LIBERTY HALL DR                115 EAST FULLER ST                 4442 PHILADELPHIA CIR
KISSIMMEE, FL 34746                 DAVENPORT, FL 33837                KISSIMMEE, FL 34746




IESHA L. LANE                       JONATHAN R. COOPER                 KISSIMMEE UTILITY AUTHORITY
415 BENITA ST                       2793 CLUB CORTILE CIR              P.O. BOX 423219
KISSIMMEE, FL 34744                 KISSIMMEE, FL 34746                KISSIMMEE, FL 34742-3219




INDRA MANGARRET REYES               JORGE E. SANTIAGO                  LABOR COMPLIANCE ASSIST.
13025 CORDELIA LN                   2411 TEMPLE GROVE LN               P.O. BOX 881899
 UNIT 206                           KISSIMMEE, FL 34741                PORT SAINT LUCIE, FL 34988
ORLANDO, FL 32824


INTELLIGENT POINT OF SALE           JOSE F. CASTILLO                   LAQWANA T. PUGH
500 EXECUTIVE BLVD., SUITE 305      5378 PARADISE CAY CIR # 5378       1742 AMERICANA BLVD
OSSINING, NY 10562                  KISSIMMEE, FL 34746                APT 58C
                                                                       ORLANDO, FL 32839


INTERNAL REVENUE SERVICE            JOSEPH CRAIG                       LAWRENCE L. JACKSON
CENTRALIZED INSOLVENCY OP.          1742 AMERICANA BLVD # 58-C         4301 OSCEOLA TRAIL RD
PO BOX 7346                         ORLANDO, FL 32839                  UNIT 205
PHILADELPHIA, PA 19101                                                 KISSIMMEE, FL 34746


INVESTMENT PROPERTY ASSOCIATES, JUAN
                                 LLC A. ARGUINZONES                    LEYLANI G. RIVERA
102 LARCH CIRCLE                2803 NOBLE CROW DR.                    8415 TITKOS DR
NEWPORT, DE 19804               KISSIMMEE, FL 34744                    KISSIMMEE, FL 34747
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                                                                    OMAR   ELAMGHARI
1615 SUNNY ST                    4626 TRIBUTE TRL                   5372 LONESOME DOVE DR
KISSIMMEE, FL 34741              KISSIMMEE, FL 34746                KISSIMMEE, FL 34746




LUIS FRANCO                      MATTHEW LUGO                       ORLANDO WASTE PAPER CO., I
2410 ABBY DR APT 102             6915 VILLA DE COSTA DR             P.O. BOX 547874
KISSIMMEE, FL 34741              APT 201                            ORLANDO, FL 32854-7874
                                 ORLANDO, FL 32821


MADELYN RIVERA                   MATTHEW R. ROBB                    OSCAR VAZQUEZ
1008 SPRING MEADOW DR            2085 FALMOUTH RD                   3110 SEAVIEW CASTLE DR
KISSIMMEE, FL 34741              MAITLAND, FL 32751                 KISSIMMEE, FL 34746




MARIA A. DE AGUIAR               MICHAEL IACONO                     PAOLA C. MACHADO
1660 PEREGRINE FALCONS WAY       102 LARCH CIRCLE                   3096 ASHLAND LN N
APT 305                          SUITE 301                          KISSIMMEE, FL 34741
ORLANDO, FL 32837                NEWPORT, DE 19804


MARIA A. GUARECUCO               MICOV VERTY                        PAOLA DOS SANTOS
13236 HEATHER MOSS DR            4712 SEELEY ST                     4543 STORYTELLING WAY
APT 1105                         KISSIMMEE, FL 34758                KISSIMMEE, FL 34746
ORLANDO, FL 32837


MARIA C. GRIEGO                  MIGUEL A. ALCALA                   QSRONLINE
4103 BELL TOWER CT               2933 LANGDON LN S                  P.O. BOX 6496
APT 302                          KISSIMMEE, FL 34741                CORPUS CHRISTI, TX 78466
KISSIMMEE, FL 34741


MARISABEL MONTERO                MIGUEL E. LANZ                     RAFCELI MULATO
1826 HUGHEY ST                   3076 PRELUDE LN                    3240 CALHOUN STREET
KISSIMMEE, FL 34741              KISSIMMEE, FL 34746                #307
                                                                    KISSIMMEE, FL 34747


MARK A. TAYLOR                   MONIQUE L. WHITE                   RAYAN H. BOUSSEDRA
6927 VILLA DE COSTA DR           3215 TOMAHAWK DR                   769 HACIENDA CIR
APT 204                          KISSIMMEE, FL 34746                KISSIMMEE, FL 34741
ORLANDO, FL 32821


MARKIYA KEVON WARD               NOLAN N. AGOSTO                    RC LANDSCAPE MAINTENANCE
12540 SPLENDID PLACE             14528 GLOBAL CIRCLE                628 DREW AVENUE
#6118                            APT 4305                           CLERMONT, FL 34711
ORLANDO, FL 32821                ORLANDO, FL 32821


MARTINS FAMOUS PASTRY SHOPPE     OFELIA Z. JIMENEZ                  REBECCA G. FRANCOIS
1000 POTATO ROLL LANE            854 MARCEL LOOP                    711 TOULON DR
CHAMBERSBURG, PA 17202-8897      DAVENPORT, FL 33837                KISSIMMEE, FL 34759
REBECCA TORRES        Case 24-10363-LSS
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                                          BACKFLOW    03/08/24
                                                          INC.   Page 48 of 50 ANGRIGNON, INC.
                                                                      STEVEN
4727 CIRENTO DR                     3305 AMBERLEY PARK CIRCLE         P.O. BOX 120053
KISSIMMEE, FL 34746                 KISSIMMEE, FL 34743               CLERMONT, FL 32837




RESTAURANT TECHNOLOGIES, INC.       SECRETARY OF STATE                SUNRISE CITY RETAIL PARTNERLL
12962 COLLECTIONS CENTER DRIVE      DIVISION OF CORPORATIONS          5555 S. KIRKMAN RD., STE. 201
CHICAGO, IL 60693                   FRANCHISE TAX                     KISSIMMEE, FL 32819
                                    PO BOX 898
                                    DOVER, DE 19903

                                SENA NUR
REVOCABLE TRUST OF LEOARD F. IACONO,  SR. YALCINDAG                   SUNRISE CITY RETAIL PARTNERLL
102 LARCH CIRCLE                5156 CROWN HAVEN DR                   5555 S. KIRKMAN RD., STE. 201
SUITE 301                       KISSIMMEE, FL 34746                   ATTN: RANDALL R. HODGE
NEWPORT, DE 19804                                                     KISSIMMEE, FL 32819


ROBERT PARKER                       SHAZARIYIEK K. BATTLE             SYSCO CORPORATION
2819 EAGLE LAKE DR                  14525 GATEWAY POINTE CIR          200 WEST STORY ROAD
ORLANDO, FL 32837                   APT 11201                         OCOEE, FL 34761
                                    ORLANDO, FL 32821


RUTLEDGE ECENIA, P.A.               SHUNTA L. PARKER                  TECO
119. S. MONROE ST., SUITE 202       504 MILDRED CT                    P.O. BOX 31318
TALLAHASSEE, FL 32301               KISSIMMEE, FL 34744               TAMPA, FL 33631-3318




SAFEGUARD BUSINESS SYSTEMS          SHUTTS & BOWEN LLP                TILEYA M. WARD
459 OAKSHADE ROAD, SUITE D          ATTN. TODD KOBRIN                 12540 SPLENDID PLACE
SHAMONG, NJ 08088                   P.O. BOX 4956                     #6118
                                    ORLANDO, FL 32802                 ORLANDO, FL 32821


SANTOS CEDENO                       SILVANY G. VIVAS                  TOHO WATER AUTHORITY
11E PARK ST                         2971 MALLORY CIR                  P.O. BOX 30527
KISSIMMEE, FL 34744                 APT 17205                         TAMPA, FL 33630-3527
                                    KISSIMMEE, FL 34747


SARA A. RODRIGUEZ                   SOCIALLY WINNING MARKETING        TREVONTAE L. CUYLER
6201 PLANTATION LAKES CIR           114 LEDGE ROAD                    5630 SYCAMORE CANYON DR
SANFORD, FL 32771                   YARMOUTH, ME 04096                KISSIMMEE, FL 34758




SARAPHINA CHARLES                   SOVERIGN PROPERTY MANAGEMENT      U.S. FOODS, INC.
1614 REDIN DR                       102 LARCH CIRCLE, SUITE 301       PARKE E. INDUSTRIAL PARK
KISSIMMEE, FL 34759                 NEWPORT, DE 19804                 TAMPA, FL 33610




SARIMAR C. TORANO                   STEPHANO BRITO                    ULISES A. HANSEN
5508 PARADISE CAY CIR               4857 CORAL CASTLE DR              3016 BONFIRE BEACH DR
KISSIMMEE, FL 34746                 KISSIMMEE, FL 34746               APT 103
                                                                      KISSIMMEE, FL 34746
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15408 WILLOW ARBOR CIR
ORLANDO, FL 32824




VERONICA G. CARDOZO
2909 SENTENCE ST
KISSIMMEE, FL 34746




WILDYMAR E. LOPEZ
3213 HOLDERNESS DR
KISSIMMEE, FL 34741




WILLIAM C. VIDAL
4444 PHILADELPHIA CIR
KISSIMMEE, FL 34746




YOUSSEF MAHDAR
3184 BEAR PATH
KISSIMMEE, FL 34746
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